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         On September 30, 2011, respondent filed a stipulation in which the parties agreed to
settle this case. The undersigned issued a Decision on Damages and Attorneys’ Fees and Costs
based on the stipulation on September 30, 2011.

      Judgment entered on November 9, 2011. Petitioners filed an Election to Accept
Judgment on November 10, 2011.

       On January 27, 2012, petitioners filed a Motion to Amend Judgment, requesting relief
from judgment entered on November 9, 2011. The undersigned denied petitioners’ motion on
February 3, 2012. Petitioner did not file a motion for reconsideration.

        On December 7, 2012, petitioners filed a supplemental motion for attorney’ fees and
costs (“supplemental motion”). Petitioners requested $2,150.00 in attorneys’ fees and $962.50 in
attorneys’ costs, for a total request of $3,112.50. Respondent did not file a response to
petitioners’ supplemental motion.

        Petitioners’ supplemental motion is denied as moot.


IT IS SO ORDERED.


Dated: July 2, 2018                                                s/ Laura D. Millman
                                                                     Laura D. Millman
                                                                       Special Master




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